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SEALED

0 R\ G NAI “IN THE UNITED STATES DISTRICT COURT YYY)
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

UNITED STATES OF AMERICA NO.
V. FILED UNDER SEAL
QUINTON JEDELL DARDEN ~ < o C R - 2 3 0 X
a.k.a. Ball Out
INDICTMENT
The Grand Jury charges:
Count One

Trafficking in Firearms
(Violation of 18 U.S.C. § 933(a)(1) and (b))

Beginning on or about March 17, 2025, and continuing through on or about April
24, 2025, in the Dallas Division of the Northern District of Texas and elsewhere, the
defendant, Quinton Jedell Darden, did ship, transport, transfer, cause to be transported,
and otherwise dispose of a firearm, to a convicted felon in or otherwise affecting
commerce, knowing or having reasonable cause to believe that the use, carrying, and
possession of the firearm by the convicted felon would constitute a felony.

In violation of 18 U.S.C. § 933(a)(1) and (b).

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Forfeiture Notice
(18 U.S.C. § 924(d)(1), 28 U.S.C. § 2461(c))

Upon conviction for the offense alleged in Count One of this indictment and
pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), the defendant, Quinton
Jedell Darden, shall forfeit to the United States of America any firearm and ammunition

involved in the commission of the offense.

A TRUE BILL:

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FOREPERSON— 7)

CHAD E. MEACHAM
ACTING UNITED STATRS ATTORNEY

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

THE UNITED STATES OF AMERICA

QUINTON JEDELL DARDEN
a.k.a. Ball Out

SEALED INDICTMENT
18 U.S.C. § 933(a)(1) and (b)
Trafficking in Firearms

(Count 1)

18 U.S.C. § 924(d)(1), 28 U.S.C. § 2461(c)
Forfeiture Notice

1 Count

A true bill rendered

DALLAS

Filed in open court this oh | day of May, 2025.

PRATE JUDGE
3:25-MJ-419-BK

nS
UNITED STATES ]

Magistrate Court Nunrbe

